













Opinion issued August 13, 2009








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-01028-CV
____________

JCS HOLDINGS, L.L.C.; JOE’S CRAB SHACK HOLDINGS, INC.; JOE’S
CRAB SHACK-TEXAS, INC.; AND CRAB ADDISON, INC. Appellants

V.

LANDRY’S RESTAURANTS, INC.; LSRI HOLDINGS, INC.; AND
RICHARD ERVIN, Appellees




On Appeal from the 55th District Court
Harris County, Texas
Trial Court Cause No. 2008-09427A




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants have filed an agreed motion to dismiss the appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Jennings, Alcala, and Higley.


